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   TOSH BABU
 5                               IN THE UNITED STATES DISTRICT COURT
 6                                  EASTERN DISTRICT OF CALIFORNIA
 7

 8   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-204-TLN

 9                                Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
                                                        IN DEFENDANT’S NOTICE
10                          v.

11   TOSH BABU,

12                               Defendant.

13

14          Pursuant to Local Rule 141(b) and based upon the representations contained in the Defendant’s

15 Request to Seal, IT IS HEREBY ORDERED that the Defendant’s Plea Agreement and Defendant’s

16 Request to Seal shall be SEALED until further order of this Court.

17          It is further ordered that access to the sealed documents shall be limited to the government and

18 counsel for the defendant.

19          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court

20 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in
21 the Defendant’s request, sealing the aforementioned documents serves a compelling interest. The Court

22 further finds that, in the absence of closure, the compelling interests identified by the Defendant would

23 be harmed. The Court further finds that there are no additional alternatives to sealing these

24 documents that would adequately protect the compelling interests identified by the Defendant.

25

26 Dated: May 25, 2017
27
                                                                Troy L. Nunley
28
                                                                United States District Judge

      ORDER SEALING DOCUMENTS                            1
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